            Case 1:22-cr-00023-TFH Document 42 Filed 07/20/22 Page 1 of 6

                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               :
UNITED STATES OF AMERICA                       :      Case No.: 22-cr-23-TFH
                                               :
       v.                                      :      40 U.S.C. § 5104(e)(2)(G)
                                               :
TINA LOGSDON,                                  :
                                               :
       Defendant.                              :
                                               :

                                STATEMENT OF OFFENSE

       Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, TINA LOGSDON,

with the concurrence of her attorney, agree and stipulate to the below factual basis for the

defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                        The Attack at the U.S. Capitol on January 6, 2021

       1.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.




                                             Page 1 of 6
               Case 1:22-cr-00023-TFH Document 42 Filed 07/20/22 Page 2 of 6




          2.      On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.      On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

          4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

          5.      At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks as required by USCP officers or other authorized security

officials.

          6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP



                                             Page 2 of 6
            Case 1:22-cr-00023-TFH Document 42 Filed 07/20/22 Page 3 of 6




attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of

more than $1.4 million dollars for repairs.

       7.       Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

              TINA LOGSDON’s Participation in the January 6, 2021, Capitol Riot

       8.       The defendant, TINA LOGSDON, lives in Sesser, Illinois. On January 5, 2021,

defendant traveled from Sesser, Illinois, to Maryland, via automobile, with her husband and co-

defendant, Christopher Logsdon. The purpose of the defendant’s trip was to get to Washington,

D.C., to protest Congress’ certification of the Electoral College.

       9.       On January 6, defendant TINA LOGSDON and Christopher Logsdon drove from

Maryland to Washington, D.C. The defendant and Christopher Logsdon attended the “Stop the



                                              Page 3 of 6
          Case 1:22-cr-00023-TFH Document 42 Filed 07/20/22 Page 4 of 6




Steal” rally and listened to President Donald Trump’s speech. TINA LOGSDON and Christopher

Logsdon then marched to the Capitol building.

       10.     At some time before or around 2:20pm, defendant entered the United States Capitol

through a side door. At or around 2:21pm, the defendant was in the Capitol Crypt’s North Lobby.

At or around 2:28pm, the defendant walked through the House Wing doors, chanting with her fist

raised. At or around 2:33pm, the defendant proceeded through the Memorial Door. At or around

2:37pm, the defendant walked through Central Hall East to the Crypt stairs to the Visitor’s Center.

At or around 2:39, the defendant filmed a video in which she claimed that she “took the Capitol”

and “stopped the vote.” At or around 2:50pm, the defendant departed the Visitor’s Center and

proceeded to the Rotunda Door, leaving the Capitol at roughly 2:51pm.

       11.     On January 7, 2021, defendant posted on her Facebook account, “It was Trump

supporters who stormed the Capital I was one of them. Enough is enough it is time we as

Americans take a stand, and what better way then to clean house. [sic].” Defendant additionally

posted, “Yes we stormed the capitol. We tried to do it peacefully but they wouldn’t listen maybe

now they will. [sic].”

                                     Elements of the Offense

       12.     TINA LOGSDON knowingly and voluntarily admits to all the elements of

Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United States

Code, Section 5104(e)(2)(G). Specifically, defendant admits that she willfully and knowingly

entered the U.S. Capitol Building knowing that that she did not have permission to do so.

Defendant further admits that while inside the Capitol, she willfully and knowingly paraded,

demonstrated, or picketed.




                                            Page 4 of 6
Case 1:22-cr-00023-TFH Document 42 Filed 07/20/22 Page 5 of 6




                                   Respectfully submitted,



                                   Matthew M. Graves
                                   United States Attorney



                           By:     ____________________________
                                   Thomas D. Campbell
                                   Trial Attorney
                                   Criminal Division, Fraud Section
                                   U.S. Department of Justice
                                   1400 New York Ave. NW
                                   Washington, D.C. 20005
                                   Tel: (202) 262-7778
                                   Email: thomas.campbell@usdoj.gov




                          Page 5 of 6
Case 1:22-cr-00023-TFH Document 42 Filed 07/20/22 Page 6 of 6
